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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                    WICHITA FALLS DIVISION

X CORP.,                                    §
                                            §
      Plaintiff,                            §
                                            §
v.                                          §               No. 7:24-cv-00114-O
                                            §
WORLD FEDERATION OF ADVERTISERS;            §
UNILEVER PLC; UNILEVER UNITED STATES, INC.; §
MARS, INCORPORATED; CVS HEALTH              §
CORPORATION; AND ØRSTED A/S,                §
                                            §
      Defendants.                           §

                      JOINT MOTION TO EXTEND DEADLINES
                    AND IMPLEMENT JOINT BRIEFING SCHEDULE

TO THE HONORABLE ED KINKEADE, UNITED STATES DISTRICT JUDGE:

        Plaintiff X Corp. (“X” or “Plaintiff”) and Defendants World Federation of Advertisers;

Unilever United States, Inc.; Mars, Incorporated; CVS Health Corporation; and Ørsted A/S

(collectively the “Served Defendants,” and with Plaintiff, the “Parties”) respectfully file this Joint

Motion to Extend Deadlines and Implement Joint Briefing Schedule (the “Motion”) and urge that

it be granted.

        On August 6, 2024, Plaintiff filed its Original Complaint (the “Complaint”). As of filing

this Motion, all but one defendant has either been granted an extension to answer, move, or

otherwise respond or executed a waiver of service that extends those deadlines. In its September

4 and September 6, 2024 orders, the Court established December 2, 2024 as the deadline for

Defendants CVS Health Corporation and Mars, Incorporated, respectively, to answer, move or

otherwise respond to the Complaint (Dkt. Nos. 22 & 29). The waivers on file thus far establish

different deadlines for other Defendants in late November and mid-December.




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       The Served Defendants intend to file responsive motions and, upon conferring, the Parties

seek to implement a joint briefing schedule for Plaintiff and any Defendant that has been served

or has accepted service thus far. Good cause exists for these extensions. See FED. R. CIV. P.

6(b)(1)(A).   Given the substantial overlap in the antitrust claims made against the various

Defendants, a joint briefing schedule and extended deadlines will facilitate more efficient,

streamlined briefing among the Served Defendants, allow the parties to avoid intensive briefing

over the Christmas holiday, and promote judicial efficiency. Accordingly, the Parties respectfully

request the following extensions to the currently applicable deadlines:

              December 13, 2024: The Served Defendants’ deadline to answer, move, or
               otherwise respond to the Complaint.

              February 4, 2025: Plaintiffs’ deadline to respond to the Served Defendants’
               responsive motions.

              April 8, 2025: The Served Defendants’ deadline to file reply briefs.

       This joint briefing schedule will be in the interests of justice and judicial economy and does

not prejudice any Party. Accordingly, the Parties respectfully urge that the Court grant this Motion

and extend the requested deadlines.




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Dated: September 25, 2024
                                          Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that on September 25, 2024, a true and correct copy of the foregoing instrument
was served on all counsel of record using the Court’s electronic filing system.


                                            /s/ George M. Kryder
                                            George M. Kryder




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